                                                            Case No. 21-cr-20242-CMA
Case 1:21-cr-20242-CMA Document 70 Entered on FLSD Docket 05/17/2022   Page 1 of 4

  Mark Grenon, was threatened with extradition, fined and has now been jailed since August 10th 2020. He
  was pressured to shut down his health site and forced into silence and has been jailed along with his son,
  Joseph Grenon in Colombia. Their arrest was highly publicised and planned way in advance. His other
  two boys, Jonathan and Jordan Grenon are being held in a Federal Detention Prison {FDC) in Miami,
  Florida since July 8th 2020. They too are being held against their will without bail, indictment or trial.
  They were told they can be held indefinitely.

  If you take a few minutes to research this, without bias, you may discover that there is more going on
  here than just advocates for something that has never harmed anyone at worst, and at best, cured the
  uncurable.

  Why the heavy hand ofjustice against these good folks?



  Sincerely,

  Rex Rossbach
          Case 1:21-cr-20242-CMA Document 70 Entered on FLSD Docket 05/17/2022 Page 2 of 4


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